                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA



UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 1: 04-CR-188
                                                )           Judge Edgar
GARY MICHAEL BROCK                              )




                                            ORDER



           In accordance with the accompanying memorandum opinion, the motion by defendant

Gary Michael Brock for judgment of acquittal pursuant to Fed. R. Crim. P. 29(c), or alternatively,

motion for a new trial pursuant to Fed. R. Crim. P. 33, [Court Doc. No. 208] is DENIED.

               SO ORDERED.

               ENTER this 10th day of August, 2005.



                                                   /s/ R. Allan Edgar
                                                  R. ALLAN EDGAR
                                        CHIEF UNITED STATES DISTRICT JUDGE




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